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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
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 4
 5   Attorney for JUDY MULLIN
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                       Case No.: 14-43 KJM

11                    Plaintiff,                     STIPULATION AND ORDER FOR
12                                                   MODIFICATION OF CONDITION OF
                vs.                                  RELEASE
13
14   JUDY MULLIN, et al.

15                    Defendants.
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney
18   Sherry Haus, Counsel for Plaintiff, and Clemente M. Jiménez, Counsel for Judy Mullin,
19   that the pretrial release condition of a 7:00 p.m. curfew be extended to 11:00 p.m. on the
20   date of July 19, 2015. Defense counsel has discussed the one-time curfew extension with
21   Pretrial Services Officer Amaryllis Gonzalez, who is not opposed.
22              Ms. Mullin’s daughter, Angelina Miranda, belongs to the CYSC All Stars
23   cheerleading troupe, which is scheduled to perform at Knott’s Berry Farm on July 19,
24   2015. Ms. Mullin will have to purchase admission to the park for herself and her
25   daughters at significant expense. She would like to be able to allow her daughters to
26   enjoy the day at the park following the performance until the park closes at 10:00 p.m., at
27   which point Ms. Mullin would return home.
28




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 1   DATED:           June 4, 2015        /S/    Sherry Haus_________________
                                                 BENJAMIN B. WAGNER
 2
                                                 by SHERRY HAUS
 3                                               Attorney for Plaintiff
 4
 5                                               /S/   Clemente M. Jiménez_________
                                                 CLEMENTE M. JIMÉNEZ
 6                                               Attorney for Judy Mullin
 7
 8
 9
                                                ORDER
10
11              IT IS SO ORDERED, that the defendant’s pre-trial release condition be modified
12   to extend her curfew of 7:00 p.m. to 11:00 p.m. on July 19, 2015.
13
     This 5th day of June, 2015
14
15                                               _____________________________________
                                                       Hon. Edmund F. Brennan
16                                                     United States Magistrate Judge
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     06/05/15
